Case 3:19-cv-00889-REP Document 13-1 Filed 01/17/20 Page 1 of 27 PageID# 121



                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA
                              Richmond Division



DEVIN G. NUNES,

                  Plaintiff,

      v.                                   Civil No.: 3:19-CV-00889

CABLE NEWS NETWORK, INC.,

                  Defendants.


                          MEMORANDUM OF LAW
                    IN SUPPORT OF MOTION TO DISMISS




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Case 3:19-cv-00889-REP Document 13-1 Filed 01/17/20 Page 2 of 27 PageID# 122



                                                   TABLE OF CONTENTS


INTRODUCTION ...........................................................................................................................1

BACKGROUND .............................................................................................................................2

          A.         Representative Nunes...............................................................................................2

          B.         Impeachment Proceedings. ......................................................................................3

          C.         The CNN Publications at Issue. ...............................................................................5

          D.         This Lawsuit.............................................................................................................6

LEGAL STANDARD......................................................................................................................7

ARGUMENT ...................................................................................................................................7

I.        THE COMPLAINT SHOULD BE DISMISSED BECAUSE REP. NUNES
          FAILED TO COMPLY WITH THE APPLICABLE RETRACTION STATUTE. ............7

          A.         The Case is Governed by the Law of Rep. Nunes’s Home State,
                     California. ................................................................................................................7

          B.         Rep. Nunes Failed To Comply with the California Retraction Statute..................13

                     1.         The Statute Applies to CNN’s Publications at Issue Here. ........................14

                     2.         Rep. Nunes Did Not Comply with the Statute. ..........................................15

          C.         The Complaint Fails Plausibly To Allege Special Damages. ................................16

II.       THE COMPLAINT FAILS TO PLAUSIBLY ALLEGE A CLAIM OF
          CONSPIRACY. .................................................................................................................18

CONCLUSION ..............................................................................................................................20
Case 3:19-cv-00889-REP Document 13-1 Filed 01/17/20 Page 3 of 27 PageID# 123



                                                  TABLE OF AUTHORITIES


                                                                   CASES

Anderson v. Hearst Publ’g Co., 120 F. Supp. 850 (S.D. Cal. 1954) .................................15, 16, 18

Anschutz Entm’t Grp. v. Snepp, 90 Cal. Rptr. 3d 133 (Ct. App. 2009) ................................. passim

Applied Equip. Corp. v. Litton Saudi Arabia Ltd., 869 P.2d 454 (Cal 1994) (In
   Bank) ........................................................................................................................................18

Ascend Health Corp. v. Wells, 2013 WL 1010589 (E.D.N.C. Mar. 14, 2013) ..............9, 10, 12, 13

Ashcroft v. Iqbal, 556 U.S. 662 (2009) ..................................................................................2, 7, 19

Bay Tobacco, LLC v. Bell Quality Tobacco Prods., LLC, 261 F. Supp. 2d 483
   (E.D. Va. 2003) ........................................................................................................................20

Bell Atl. v. Twombly, 550 U.S. 544 (2007) ....................................................................................19

Childers v. San Jose Mercury Printing & Publ’g Co., 38 P. 903 (1894) ......................................17

Cockrum v. Donald J. Trump for President, Inc., 365 F. Supp. 3d 652 (E.D. Va.
   2019) ..................................................................................................................................11, 12

Cox v. MAG Mutual Ins. Co., 2015 WL 1640513 (E.D. Va. Apr. 9, 2015) ............................19, 20

FAA v. Cooper, 566 U.S. 284 (2012) .............................................................................................17

Farr v. Bramblett, 281 P.2d 372 (Cal. Dist. Ct. App. 1955) ...................................................15, 16

Fellows v. Nat’l Enquirer, Inc., 721 P.2d 97 (Cal. 1986) (In Bank) .............................................17

Field Research Corp. v. Superior Court of S.F., 453 P.2d 747 (Cal. 1969) ..................................15

Galustian v. Peter, 561 F. Supp. 2d 559 (E.D. Va. 2008), reversed in part on
   other grounds, 591 F.3d 724 (4th Cir. 2010) .............................................................................8

Gilmore v. Jones, 370 F. Supp. 3d 630 (E.D. Va. 2019) ....................................................... passim

Gomes v. Fried, 186 Cal. Rptr. 605 (Ct. App. 1982) .................................................................1, 17

Hall v. Virginia, 385 F.3d 421 (4th Cir. 2004) ................................................................................3

Harper v. Lugbauer, 2011 WL 6329870 (N.D. Cal. Nov. 29, 2011) ............................................19

Harris v. Curtis Publ’g Co., 121 P.2d 761, 769 (Cal. Dist. Ct. App. 1942) ..................................16



                                                                        ii
Case 3:19-cv-00889-REP Document 13-1 Filed 01/17/20 Page 4 of 27 PageID# 124



Hatfill v. Foster, 415 F. Supp. 2d 353 (S.D.N.Y. 2006) ..................................................8, 9, 12, 13

Homeland Housewares, LLC v. Euro-Pro Operating LLC, 2014 WL 6892141
  (C.D. Cal. Nov. 5, 2014) ..........................................................................................................17

Horace Mann Ins. v. Gen. Star Nat’l Ins., 514 F.3d 327 (4th Cir. 2008) ........................................7

In re Cable News Network, 106 F. Supp. 2d 1000 (N.D. Cal. 2000) .................................14, 16, 18

Kalpoe v. Superior Court, 166 Cal. Rptr. 3d 80 (Ct. App. 2013) ............................................14, 18

King v. Am. Broad. Cos.,1998 WL 665141 (S.D.N.Y. Sept. 28, 1998)................................. passim

Kylin Network (Beijing) Movie & Culture Media Co. v. Fidlow, 2017 WL
   2385343 (E.D. Va. June 1, 2017).........................................................................................8, 20

Jones v. R.S. Jones & Assocs., 431 S.E.2d 33, 34 (Va. 1993) .......................................................12

Martin v. Wells Fargo Bank, 2018 WL 6333688 (C.D. Cal. Jan. 18, 2018) .................................17

Martinez v. Rodriguez, 1995 WL 864098 (Cal. Super. Ct. Aug. 2, 1995) ..........................1, 13, 16

McMillan v. McMillan, 219 Va. 1127 (1979) ............................................................................8, 10

Nemet Chevrolet, Ltd. v. Consumeraffairs.com, Inc., 591 F.3d 250 (4th Cir. 2009) .......................7

Nunes v. Twitter, 2019 WL 5549825 (Va. Cir. Ct. Oct. 2, 2019) ..................................................12

O’Hara v. Storer Comm’ns, Inc., 282 Cal. Rptr. 712 (Ct. App. 1991) .................................. passim

Quillen v. Int’l Playtex, Inc., 789 F.2d 1041 (4th Cir. 1986) .......................................................7, 8

Seaman v. IAC/InteractiveCorp., Inc., 2019 WL 1474392 (E.D. Va. Apr. 3, 2019) .......................2

Velocity Micro, Inc. v. J.A.Z. Mktg., 2012 WL 3017870 (E.D. Va. July 23, 2012).......................11

Virdis Dev. Corp. v. Bd. of Supervisors of Chesterfield Cty., 92 F. Supp. 3d 418
   (E.D. Va. 2015) ..........................................................................................................................3

Wells v. Liddy, 186 F.3d 505 (4th Cir. 1999) .......................................................................8, 10, 11

Wiest v. E-Fense, Inc., 356 F. Supp. 2d 604, 608 (E.D. Va. 2005) ...............................................11

X-Tra Art, Inc. v. Consumer Union, 48 F.3d 1230, 1995 WL 100613 (9th Cir.
   1995) ........................................................................................................................................18

                                                               STATUTES

Cal. Civ. Code § 48a .............................................................................................................. passim


                                                                       iii
Case 3:19-cv-00889-REP Document 13-1 Filed 01/17/20 Page 5 of 27 PageID# 125



Va. Code Ann. § 18.2-499 (West) .................................................................................................19

                                               OTHER AUTHORITIES

6A Cal. Jur. 3d Assault and Other Willful Torts § 240 .................................................................16

Restatement (First) of Conflict of Laws § 377 (1934).....................................................................8




                                                                iv
Case 3:19-cv-00889-REP Document 13-1 Filed 01/17/20 Page 6 of 27 PageID# 126



                                       INTRODUCTION

       California Congressman Devin Nunes, the ranking member of the House Intelligence

Committee, brought this libel and “conspiracy” suit against Cable News Network, Inc. (“CNN”)

based on its report that a witness was prepared to testify that Nunes had met with Ukrainian

prosecutor Victor Shokin to discuss “digging up dirt” on Joe Biden. CNN spoke with the witness’s

lawyer, Joseph Bondy, on the record, and Mr. Bondy was quoted extensively in the report. CNN

also noted that it had made multiple attempts to seek comment from Rep. Nunes prior to reporting

this story, but that he and his staff had declined to comment on whether Rep. Nunes had met with

Mr. Shokin. CNN’s reporting of what Mr. Bondy said on the record, as a lawyer, was truthful and

accurate.

       Instead of denying the report before it was published, Rep. Nunes waited until it was

published and then filed this suit seeking more than $435 million in damages—labeling CNN “the

mother of fake news” and accusing it of “eroding the fabric of America.” Compl. ¶ 1. In his rush

to sue, however, Rep. Nunes overlooked the need first to request a retraction. California, the state

where Rep. Nunes resides and whose law governs this case, requires a defamation plaintiff to serve

“an unequivocal demand for correction or retraction” in writing within 20 days of learning of an

allegedly defamatory report. See Martinez v. Rodriguez, 1995 WL 864098, at *2 (Cal. Super. Ct.

Aug. 2, 1995); O’Hara v. Storer Comm’ns, Inc., 282 Cal. Rptr. 712, 717-18 (Ct. App. 1991); Cal.

Civ. Code § 48a. Failure to serve a timely demand for retraction limits the plaintiff to “special

damages”—that is, actual “economic loss.” Gomes v. Fried, 186 Cal. Rptr. 605, 614 (Ct. App.

1982). Because the Complaint fails to plead special damages with the specificity that is required,

it must be dismissed. See, e.g., King v. Am. Broad. Cos.,1998 WL 665141, at *3 (S.D.N.Y. Sept.




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Case 3:19-cv-00889-REP Document 13-1 Filed 01/17/20 Page 7 of 27 PageID# 127



28, 1998); Anschutz Entm’t Grp. v. Snepp, 90 Cal. Rptr. 3d 133, 165 (Ct. App. 2009); Fed. R Civ.

P. 9(g).1

        In addition, the conspiracy claim is independently defective and must be dismissed for the

further reason that it is based on nothing more than conclusory allegations that cannot give rise to

a plausible claim. See, e.g., Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

                                        BACKGROUND

        A.     Representative Nunes.

        Rep. Nunes was born and raised in California. Compl. ¶ 4. He has served as a California

Representative in the United States House of Representatives since 2003 and currently represents

“California’s 22nd Congressional District, which is located in the San Joaquin Valley and includes

portions of Tulare and Fresno Counties.” Id. He is now, by his own account, a “prominent”

Republican congressman, who serves as the Ranking Member on the House Intelligence

Committee. Id. ¶¶ 3, 4. He was previously the Committee Chairman during the 114th and 115th

Congresses. Id. ¶ 4.

        Rep. Nunes is a frequent defamation litigant. He and his counsel have brought at least four

different defamation cases in Virginia courts this year alone.2




1
  Simultaneous with this Motion to Dismiss, CNN is filing a Motion to Transfer the case to the
Southern District of New York because it simply has nothing to do with the Eastern District of
Virginia. The Court may wish to consider that motion before ruling on this Motion to Dismiss.
See Seaman v. IAC/InteractiveCorp., Inc., 2019 WL 1474392, at *8 (E.D. Va. Apr. 3, 2019)
(granting transfer motion to Southern District of New York, noting that the transferee court would
decide a pending motion to dismiss).
2
  See Nunes v. McClatchy Co. et al., No. CL-19-629 (Va. Cir. Ct. Albemarle Cty.); Nunes v.
Twitter, Inc. et al., No. CL-19-1715 (Va. Cir. Ct. Henrico Cty.); Nunes v. Fusion GPS A/K/A Bean
LLC, No. 19-cv-01148 (E.D. Va.). This case is the fourth.


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Case 3:19-cv-00889-REP Document 13-1 Filed 01/17/20 Page 8 of 27 PageID# 128



       B.      Impeachment Proceedings.

       The publications at issue here were part of CNN’s coverage of the House of

Representatives’ impeachment inquiry, which concerned among other questions whether President

Trump had improperly sought assistance from Ukraine to benefit his reelection efforts. The House

investigation began in earnest in September 2019 and was led primarily by the House Intelligence

Committee.3 As the Ranking Member on that Committee, Rep. Nunes had substantial involvement

in the proceedings; he asserts in his Complaint that he “spearheaded Republican efforts to

investigate and defend the truth during the impeachment inquiry.” Compl. ¶ 41(j).

       Early in the investigation—and long before CNN’s publications at issue here—it was

widely reported that a key point of focus in the impeachment investigation was the effort of

President Trump’s personal attorney, Rudy Giuliani, to press the Ukrainian government to

investigate Vice President Biden.4 It also was widely reported that Mr. Giuliani had been working

with various associates on these efforts, including Florida-based businessmen Lev Parnas and Igor



3
  See House Perm. Select Comm. on Intel., The Trump-Ukraine Impeachment Inquiry Report, H.R.
Doc. No. 116-335, at 7 (2019), https://intelligence.house.gov/uploadedfiles/20191203_-
_full_report___hpsci_impeachment_inquiry_-_20191203.pdf (“House Report”). The Court may
take judicial notice of publicly available government documents. See, e.g., Hall v. Virginia, 385
F.3d 421, 424 n.3 (4th Cir. 2004). Likewise, the Court may take judicial notice of “newspaper
articles attached to the motion to dismiss when the articles discuss the subject matter of the case,”
Gilmore v. Jones, 370 F. Supp. 3d 630, 669 (E.D. Va. 2019) (quotation marks omitted), as well as
websites referenced in a complaint, see, e.g., Virdis Dev. Corp. v. Bd. of Supervisors of Chesterfield
Cty., 92 F. Supp. 3d 418, 421 n.4 (E.D. Va. 2015).
4
  Mr. Giuliani was subpoenaed as part of the House investigation on September 30, 2019. The
subpoena cover letter stated that “[a] growing public record, including your own statements,
indicates that the President, you, and others appear to have pressed the Ukrainian government to
pursue two politically-motivated investigations.” Letter from Adam B. Schiff, Chairman House
Perm. Select Comm. on Intel., et al. to Rudolph W. L. Giuliani (Sept. 30, 2019),
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/documents/20190930%20-
%20Giuliani%20HPSCI%20Subpoena%20Letter.pdf; see also, e.g., Nicholas Fandos, House
Subpoenas Giuliani, Trump’s Lawyer, for Ukraine Records, N.Y. Times (Sept. 30, 2019),
https://www.nytimes.com/2019/09/30/us/politics/impeach-giuliani-subpoena.html.


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Case 3:19-cv-00889-REP Document 13-1 Filed 01/17/20 Page 9 of 27 PageID# 129



Fruman. See, e.g., Compl. ¶ 19.5 In October, Messrs. Parnas and Fruman were indicted in the

Southern District of New York on campaign finance charges. See Ex. A; Compl. ¶ 9. Mr. Parnas

has been represented in that proceeding by two criminal attorneys, Joseph Bondy and Ed

MacMahon. Id.

       Shortly after the indictment, Mr. Parnas received a Congressional subpoena to provide

documents and testimony as part of the impeachment investigation.6 Mr. Parnas’s attorneys

publicly stated that he was “willing to comply with a Congressional subpoena for documents and

testimony as part of the impeachment inquiry in a manner that would allow him to protect his Fifth

Amendment rights against self-incrimination.” Ex. A.

       On November 20, 2019, The Daily Beast published an online article, Lev Parnas Helped

Rep. Devin Nunes’ Investigations, reporting that Mr. Parnas had “helped arrange meetings and

calls in Europe for Rep. Devin Nunes in 2018.” The article attributed the information to “Parnas’

lawyer Ed MacMahon.” Id.7 The Daily Beast’s reporting gained widespread attention. Rep. Eric




5
  Paragraph 19 of the Complaint cites and links to an October 10, 2019 Washington Post article
reporting on the arrest of Messrs. Parnas and Fruman, explaining that “[t]he two men, Lev Parnas
and Igor Fruman . . . had been helping Giuliani investigate Democratic presidential candidate and
former vice president Joe Biden.” Devlin Barrett, John Wagner, and Rosalind S. Helderman, Two
business associates of Trump’s personal attorney Giuliani have been arrested on campaign
finance charges, Wash. Post (Oct. 10, 2019), https://www.washingtonpost.com/politics/two-
business-associates-of-trumps-personal-lawyer-giuliani-have-been-arrested-and-are-in-
custody/2019/10/10/9f9c101a-eb63-11e9-9306-47cb0324fd44_story.html.
6
  Barrett, et. al, cited in Compl. ¶ 19 (“Shortly after the indictment was unsealed Thursday, House
investigators issued subpoenas for Parnas and Fruman, seeking ‘key documents’ and their eventual
testimony as part of the impeachment inquiry.”). See also Letter from Adam B. Schiff, Chairman
House Perm. Select Comm. on Intel., et al. to John M.                      Dowd (Oct. 10, 2019),
https://intelligence.house.gov/uploadedfiles/2019-10-
09.eec_engel_schiff_to_parnas_fruman_re_subpoena.pdf.
7
  Betsy Swan, Lev Parnas Helped Rep. Devin Nunes’ Investigations, Daily Beast (Nov. 20, 2019),
https://www.thedailybeast.com/lev-parnas-helped-rep-devin-nunes-investigations.


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Case 3:19-cv-00889-REP Document 13-1 Filed 01/17/20 Page 10 of 27 PageID# 130



Swalwell introduced the report during the House Intelligence Committee’s impeachment hearing

the very same day it was published.8

       C.      The CNN Publications at Issue.

       On November 22, 2019, CNN published its online report, Exclusive: Giuliani associate

willing to tell Congress Nunes met with ex-Ukrainian official to get dirt on Biden. Compl. ¶ 30.9

The article reported that Mr. Bondy, Parnas’s attorney, told CNN that Mr. Parnas was prepared to

testify that Rep. Nunes met “with a former Ukrainian prosecutor to discuss digging up dirt on Joe

Biden.” Ex. A. The report extensively quoted Mr. Bondy, who spoke to CNN on the record,

saying among other things: “Mr. Parnas learned from former Ukrainian Prosecutor General Victor

Shokin that Nunes had met with Shokin in Vienna last December” in 2018. See generally Ex. A.

       The CNN report, authored by senior reporter Vicky Ward,10 cited government travel

records showing that Rep. Nunes traveled to Europe along with several aides from November 30

to December 3, 2018, when he was said to be meeting with Mr. Shokin. Id. The article also linked

to the Daily Beast article and explained that Rep. Swalwell had discussed the Daily Beast story in

the impeachment hearing on November 21, 2019. The CNN report noted that Rep. Nunes and his

staff had declined comment on multiple occasions, including after that hearing. Id.

       Following publication of the online report, Ms. Ward appeared on CNN’s evening

television program Cuomo Prime Time, where she and anchor Chris Cuomo discussed the story.



8
  See House Perm. Select Comm. on Intel. Impeachment Inquiry, Tr. 146:9-21 (Nov. 21, 2019),
https://www.congress.gov/event/116th-congress/house-event/110235?s=1&r=3.
9
    A copy of the article is attached as Ex. A and is available at
https://www.cnn.com/2019/11/22/politics/nunes-vienna-trip-ukrainian-prosecutor-
biden/index.html.
10
   Ms. Ward is based in New York, as noted in the biography hyperlinked to the article. See
https://www.cnn.com/profiles/vicky-ward#about. Three other CNN reporters, based out of
Washington D.C., were noted as contributors to the report. See Ex. A.


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Case 3:19-cv-00889-REP Document 13-1 Filed 01/17/20 Page 11 of 27 PageID# 131



Compl. ¶ 32.11 Ms. Ward emphasized again that Mr. Parnas had been subpoenaed in the

impeachment inquiry, and that Mr. Bondy was hoping to negotiate terms that would allow Mr.

Parnas to testify freely. Ex. B; Ex. C. Ms. Ward also described CNN’s efforts to seek comment

from Rep. Nunes. Id. At the end of the segment, Mr. Cuomo called on Rep. Nunes to respond to

the allegations. Id. Subsequently, after Rep. Nunes was quoted disputing CNN’s report in an

article published on the Breitbart website, CNN updated its online report to include his denial. See

Ex. A.

         D.     This Lawsuit.

         Rep. Nunes does not allege that he ever served CNN with a written request for a retraction

that could satisfy his obligations under the California retraction statute, and in fact, Rep. Nunes

sent no such retraction request to CNN. Rather, on December 3, 2019, Rep. Nunes filed his lawsuit

against CNN, asserting claims for defamation and conspiracy. Compl. ¶¶ 36-47.

         The Complaint principally claims that the CNN publications defamed Rep. Nunes by

reporting the allegation that he had met with Ukrainian prosecutor Victor Shokin in Vienna to

discuss digging up dirt on Joe Biden. Compl. ¶ 2. The Complaint seeks more than $435 million

in damages, Compl. at 1, but it does not allege any special damages or claim that Rep. Nunes

suffered any specific pecuniary loss.12




11
  A video of the telecast is attached as Ex. B. A transcript of the telecast is attached as Ex. C.
12
   Notably, the very same day Rep. Nunes filed his lawsuit, the House Intelligence Committee
published its Trump-Ukraine Impeachment Inquiry Report, which showed numerous calls between
Mr. Parnas and Rep. Nunes and his staffer, Derek Harvey. House Report, at 46, 157-58. The
House Report shows that Rep. Nunes had four calls with Mr. Parnas on April 12, ranging from a
few seconds to 8:34. Id. The House Report also shows phone calls between Mr. Parnas and Rep.
Nunes’ staffer, Mr. Harvey, on February 1, February 4, February 7, and April 5, 2019. Id. at 154
n.69.


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Case 3:19-cv-00889-REP Document 13-1 Filed 01/17/20 Page 12 of 27 PageID# 132



                                      LEGAL STANDARD

       “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to state a claim to relief that is plausible on its face.” Iqbal, 556 U.S. at 678

(quotation marks omitted). “A pleading that offers labels and conclusions or a formulaic recitation

of the elements of a cause of action will not do,” nor will “naked assertion[s] devoid of further

factual enhancement.” Id. (quotation marks omitted). A court is “not bound to accept as true a

legal conclusion couched as a factual allegation.” Id. (quotation marks omitted). Rather, there

must be “well-pleaded factual allegations.” Id. at 679. And “the complaint’s factual allegations

must produce an inference of liability strong enough to nudge the plaintiff’s claims across the line

from conceivable to plausible.” Nemet Chevrolet, Ltd. v. Consumeraffairs.com, Inc., 591 F.3d

250, 256 (4th Cir. 2009) (quotation marks omitted). In addition, if special damages are claimed,

they “must be specifically stated.” Fed. R. Civ. P. 9(g).

                                          ARGUMENT

I.     THE COMPLAINT SHOULD BE DISMISSED BECAUSE REP. NUNES FAILED
       TO COMPLY WITH THE APPLICABLE RETRACTION STATUTE.

       Rep. Nunes’s claims are barred by the California retraction statute, Cal. Civ. Code § 48a.

Rep. Nunes does not, and cannot, allege that he complied with that statute, and he has failed to

specifically plead the special damages to which he is limited as a result.

       A.      The Case is Governed by the Law of Rep. Nunes’s Home State, California.

       A federal district court sitting in diversity applies the conflicts rule of the forum state to

determine which state’s law will govern the action. Quillen v. Int’l Playtex, Inc., 789 F.2d 1041,

1044 (4th Cir. 1986). If the forum state’s law is unsettled, then the district court must “predict

how the state’s highest court would rule on [the] unsettled issue.” Horace Mann Ins. v. Gen. Star




                                                 7
Case 3:19-cv-00889-REP Document 13-1 Filed 01/17/20 Page 13 of 27 PageID# 133



Nat’l Ins., 514 F.3d 327, 329 (4th Cir. 2008). Here the best prediction is that the law of Rep.

Nunes’s home state, California, would apply.

       The Virginia Supreme Court “has consistently held that it is the place of the wrong (lex

loci delicti) that determines which State’s substantive law applies in a tort action brought in

Virginia.” Quillen, 789 F.2d at 1044 (citing McMillan v. McMillan, 219 Va. 1127 (1979)).

Generally speaking, that is “the place where the last event necessary to make an act liable for an

alleged tort takes place.” Id. (quotation marks omitted). While historically understood to be

“where the defamatory statement is communicated” to a third-party, Restatement (First) of

Conflict of Laws § 377 n.5 (1934), that understanding provides little guidance where, as here, a

communication is published to third-parties simultaneously in 50 states. As the Fourth Circuit

recognized in a case involving Maryland law and a nationally syndicated radio show, “application

of the traditional lex loci delicti rule becomes cumbersome, if not completely impractical” in

multistate defamation cases involving the simultaneous publication of statements across different

jurisdictions. Wells v. Liddy, 186 F.3d 505, 527 (4th Cir. 1999).

       “The Supreme Court of Virginia has yet to address how the ‘place of the wrong’ should be

defined in ‘situations where the defamatory content is published in multiple jurisdictions.’”

Gilmore v. Jones, 370 F. Supp. 3d 630, 645 (W.D. Va. 2019) (quoting Kylin Network (Beijing)

Movie & Culture Media Co. v. Fidlow, 2017 WL 2385343, at *3, n.2 (E.D. Va. June 1, 2017)).13

For that reason, this Court must predict what law the Virginia Supreme Court would likely apply




13
   See also, e.g., Galustian v. Peter, 561 F. Supp. 2d 559, 565 (E.D. Va. 2008) (“The Virginia
courts have yet to address the lex loci rule in the context of multistate defamation by means of
mass communication.”), reversed in part on other grounds, 591 F.3d 724 (4th Cir. 2010); Hatfill
v. Foster, 415 F. Supp. 2d 353, 364 (S.D.N.Y. 2006) (similar).


                                                8
Case 3:19-cv-00889-REP Document 13-1 Filed 01/17/20 Page 14 of 27 PageID# 134



in this multi-jurisdiction defamation suit, in which the Complaint recognizes that CNN’s reports

aired online and on television across the nation.14

       The prevailing view, adopted by multiple federal courts, is that the Virginia Supreme Court

would apply the law of the state of the plaintiff’s injury, which is generally plaintiff’s domicile (in

this case, California). See, e.g., Hatfill v. Foster, 415 F. Supp. 2d 353, 365 (S.D.N.Y. 2006). For

example, in a recent multi-state Internet defamation case, the U.S. District Court for the Western

District of Virginia concluded that the Virginia Supreme Court would apply the law of “the state

where the plaintiff is primarily injured as a result of the allegedly tortious online content.”

Gilmore, 370 F. Supp. 3d at 666. Thus, while the publication at issue was available worldwide

through the Internet, the court held that the “state where the plaintiff [was] primarily injured” was

Virginia, where he lived and worked. Id. Likewise, applying Virginia choice-of-law principles, a

district court in the Southern District of New York reached the same conclusion in another

defamation action involving a nationwide magazine publication. See Hatfill, 415 F. Supp. 2d at

365. In that case, the court held Virginia would apply the law of the state “where the plaintiff

suffered the greatest injury,” which is “where the plaintiff was domiciled, absent strong

countervailing circumstances.” Id. at 364-65 (explaining that this is how the “vast majority” of

lex loci jurisdictions resolve the issue); see also Ascend Health Corp. v. Wells, 2013 WL 1010589,

at *2 (E.D.N.C. Mar. 14, 2013) (applying the similar lex loci rule of North Carolina and holding

that the site of plaintiffs’ injury would control in multistate Internet defamation case).


14
  See, e.g., Compl. ¶ 5 (“CNN claims that it reaches more individuals on television, the web and
mobile devices than any other cable television news organization in the United States.”), ¶ 33
(“CNN coordinated publication of the false and defamatory statements about Plaintiff across each
of its platforms. CNN published the CNN Article to multiple new target audiences, including
CNN’s 32,000,000+ Facebook followers and CNN’s 56,000,000+ Twitter followers in Virginia
and around the World. . . . CNN’s goal was to inflict maximum damage to Plaintiff’s reputation
Worldwide and to cause him to be removed from the impeachment inquiry.”).


                                                  9
Case 3:19-cv-00889-REP Document 13-1 Filed 01/17/20 Page 15 of 27 PageID# 135



        There are three reasons why this is the correct result. First, applying the place of injury is

most consistent with “the underlying rationale” of the lex loci rule, which the Virginia Supreme

Court has held to be “uniformity, predictability, and ease of application.” Gilmore, 370 F. Supp.

3d at 664 (quoting McMillan, 253 S.E.2d at 665). “The traditional lex loci delicti rule ‘presumes

that the defamatory statement is published (i.e., communicated to third parties) in one geographic

location,’ but publication via the Internet results in instantaneous ‘multistate (if not[] worldwide)

publication.’” Id. (alteration in original) (quoting Ascend Health Corp., 2013 WL 1010589, at *2).

The same is true, of course, for a nationwide telecast. As a result, “defining the ‘place of the

wrong’ as the place of publication in cases like this”—with reports airing online and across the

nation and even frequently involving contributions from journalists in multiple jurisdictions15—

“would inevitably require the cumbersome application of a patchwork of state law,” which is

neither uniform nor predictable. Id.; see also, e.g., Wells, 186 F.3d at 528 (“multistate defamation

is a tort for which the lex loci delicti rule fails to reach a satisfactory result”). In short, it would be

unreasonable to assume that the Virginia Supreme Court would adopt an interpretation that defeats

what it has held to be the very purpose of the rule.

        Second, “defining the ‘place of the wrong’ as the place of publication in a case like this

raises thorny questions about the nature of online publication”—and publication via national

telecast—and specifically about where the “publication” (that is, “where [the] content is

communicated to third parties”) technically occurs. Gilmore, 370 F. Supp. 3d at 665. Courts are

increasingly at odds and “unclear whether ‘publication’ of online content occurs in the state where

an individual uploads content, the state where the relevant media platform or publication maintains


15
  In this case, for instance, the online report at issue was authored by Ward in New York, but was
contributed to by CNN journalists in Washington, D.C. The coverage then appeared across the
country, via television and online.


                                                    10
Case 3:19-cv-00889-REP Document 13-1 Filed 01/17/20 Page 16 of 27 PageID# 136



headquarters, the state where a website’s servers are located, or the state where third parties

actually view the content (which, absent restrictions on the geographic reach of a particular online

publication, will be in all fifty states and across the world).” Id. This has led to inconsistent results

even within this district. See, e.g., id. (citing several cases, including Wiest v. E-Fense, Inc., 356

F. Supp. 2d 604, 608 (E.D. Va. 2005) (place of publication is “corporate headquarters” of company

controlling website); Velocity Micro, Inc. v. J.A.Z. Mktg., 2012 WL 3017870, at *6 (E.D. Va. July

23, 2012) (place of publication is the “place where the [allegedly defamatory] email was opened

and read”)).

        Third, further underscoring how “completely impractical” the application of the traditional

rule would be in a multi-state defamation case, see Wells, 186 F.3d at 527, these questions often

go beyond the scope of information included in a complaint. For example, in some cases courts

have been forced to assume where the publication occurred. See, e.g., Velocity, 2012 WL 3017870,

at *6 (assuming that email to Minnesota corporation was opened and therefore published in

Minnesota). In other cases, courts have applied Virginia law by default because the answer

appeared unknowable. See, e.g., Cockrum v. Donald J. Trump for President, Inc., 365 F. Supp.

3d 652, 670 (E.D. Va. 2019) (applying Virginia law where “[a]gents of WikiLeaks could have

posted the DNC’s information from countless locations around the world” such that the court could

not “determine where the act of publication occurred based on the Amended Complaint”). In such

situations, the lex loci goals of “uniformity” and “predictability” are plainly not achieved.

        While in an invasion of privacy context the Cockrum court predicted last year—prior to

Gilmore—that the Supreme Court of Virginia would define the “place of the wrong” to be “the

place where the act of publication to the Internet occurred,” 365 F. Supp. 3d at 669-70, that

interpretation conflicts with how the “vast majority” of lex loci jurisdictions have resolved the




                                                   11
Case 3:19-cv-00889-REP Document 13-1 Filed 01/17/20 Page 17 of 27 PageID# 137



question, Hatfill, 415 F. Supp. 2d at 364, and is wrong for each of the reasons discussed above. It

is further premised on the incorrect proposition that looking to the site of injury would run afoul

of the Virginia Supreme Court’s prior rejection of the Second Restatement’s “most significant

relationship” test for choice of law. See Cockrum, 365 F. Supp. 3d at 669 (citing the wrongful

death case of Jones v. R.S. Jones & Assocs., 431 S.E.2d 33, 34 (Va. 1993)). The Gilmore court

explained why this supposed conflict was illusory: “[t]he Court does not hold that the Supreme

Court of Virginia would apply the Second Restatement’s ‘most significant relationship’ test, which

provides that defamation cases should be decided under the law of the state with “the most

significant relationship to the occurrence and the parties.” 370 F. Supp. 3d at 665 n.37 (emphasis

added). Instead, Gilmore applied “another variant of lex loci delicti that defines the ‘place of the

wrong’ as the site of the plaintiff’s injury.’” Id. As Gilmore makes clear, the tests are different;

the “most significant relationship” test looks to the “most significant relationship to the occurrence

and the parties,” whereas the lex loci injury test looks to the plaintiff. See id. (emphasis added).

The Ascend Health case similarly found that the North Carolina Supreme Court would apply a lex

loci rule that would look to the site of the plaintiff’s injury, while rejecting the “most significant

relationship” test. 2013 WL 1010589, at *2.16

       In short, the best prediction of what the Virginia Supreme Court would hold is the one

recently reaffirmed in Gilmore: defining “the place of the wrong” in a case like this as the state


16
   To the extent the trial court in Nunes v. Twitter applied Cockrum and suggested that the law of
the “place of publication” to the Internet should apply, its brief analysis is unpersuasive for the
same reasons that Cockrum’s analysis is unpersuasive. 2019 WL 5549825, at *2 (Va. Cir. Ct. Oct.
2, 2019). Moreover, the court was not even undertaking a choice of law analysis, but rather
determining whether the cause of action arose “outside of Virginia” for purposes of forum non
conveniens. The complaint alleged that the defendants were Virginia residents who had published
the social media posts at issue in Virginia. Id. at *1-2. And, while the court noted that it was
rejecting a “significant relationship” rule, it apparently did not consider the separate place of injury
test adopted in Gilmore. Id. The court did not mention Gilmore or Ascend.


                                                  12
Case 3:19-cv-00889-REP Document 13-1 Filed 01/17/20 Page 18 of 27 PageID# 138



where “the plaintiff is injured.” Gilmore, 370 F. Supp. 3d at 664; Hatfill, 415 F. Supp. 2d at 365.

This approach is the most consistent with “underlying values animating the Supreme Court of

Virginia’s approach to lex loci delicti.” Gilmore, 370 F. Supp. 3d at 666. Once that determination

is made, the rest of the choice of law analysis is indisputable. Rep. Nunes alleges that he is a

California Congressman and citizen. Compl. ¶ 4. California, therefore, is presumptively the

location of the greatest part of any alleged injury. See, e.g., Hatfill, 415 F. Supp. 2d at 365 (district

where plaintiff was domiciled is presumptively the place of greatest harm); see also, e.g., Ascend,

2013 WL 1010589, at *2. Accordingly, California law applies.

        B.      Rep. Nunes Failed To Comply with the California Retraction Statute.

        Rep. Nunes failed to comply with California’s retraction statute. Cal. Civ. Code § 48a. As

a result, he is limited to seeking special damages.

        Pursuant to the statute, “[i]n any action for damages for the publication of a libel in a daily

or weekly news publication, or of a slander by radio broadcast,” a defamation plaintiff “shall only

recover special damages unless a correction is demanded and is not published or broadcast as

provided” by the statute. Id. Specifically, a plaintiff must “serve upon the publisher at the place

of publication, or broadcaster at the place of broadcast, a written notice specifying the statements

claimed to be libelous and demanding that those statements be corrected.” Id. The “notice and

demand must be served within 20 days after knowledge of the publication or broadcast of the

statements claimed to be libelous.” Id. The communication must “specifically demand a retraction

or correction,” and must be “unequivocal.” Martinez v. Rodriguez, 1995 WL 864098, at *2 (Cal.

Super. Ct. Aug. 2, 1995); O’Hara v. Storer Commc’ns, 282 Cal. Rptr. 712, 718 (Ct. App. 1992)

(demand cannot be “conditional”).




                                                   13
Case 3:19-cv-00889-REP Document 13-1 Filed 01/17/20 Page 19 of 27 PageID# 139



         “Whether [Plaintiff] met the requirements of the statute is a question of law.” See, e.g.,

O’Hara, 282 Cal. Rptr. at 717. California law is clear that in the event a plaintiff fails to comply

with the statute—and, indeed, plead compliance—the “individual cannot recover anything beyond

‘special damages.” See, e.g., Anschutz Entm’t Grp. v. Snepp, 90 Cal. Rptr. 3d 133, 163 (Ct. App.

2009).

         The retraction statute has teeth by design. California adopted the statute to “to encourage

a more active press by means of an increased insulation of [the press] from liability arising from

erroneous published statements.” Id. at 163 (quotation marks omitted). It “represents a significant

change from common law libel,” and was part of a broader legislative trend “to restrict perceived

excessive general damage awards and protect the public interest in the free dissemination of news.”

Id. (quotation marks omitted).

                1.      The Statute Applies to CNN’s Publications at Issue Here.

         As a threshold matter, it is indisputable that the retraction statute covers CNN’s online

article and telecast at issue here. First, the statute was expanded in 2015 to expressly cover online

news reports. See Cal. Civ. Code § 48a (including within the scope of the statute “a publication,

either in print or electronic form, that contains news on matters of public concern and that publishes

at least once a week”) (emphasis added). Second, “[i]t is clear” that the statute applies to television

broadcasts. See, e.g., King v. Am. Broad. Cos., 1998 WL 665141, at *2 (S.D.N.Y. Sept. 28, 1998)

(citing O’Hara, 282 Cal. Rptr. at 712); Kalpoe v. Superior Court, 166 Cal. Rptr. 3d 80, 88 (Ct.

App. 2013) (“The language of the statute clearly applies to all types of television shows.”); see

also, e.g., In re Cable News Network, 106 F. Supp. 2d 1000, 1001 (N.D. Cal. 2000) (statute applies

to claims concerning CNN news telecasts).




                                                  14
Case 3:19-cv-00889-REP Document 13-1 Filed 01/17/20 Page 20 of 27 PageID# 140



               2.      Rep. Nunes Did Not Comply with the Statute.

       Rep. Nunes does not—and cannot—allege compliance with the statute. The Complaint

does not “plead” that he ever made any specific written retraction demand, much less within “20

days” as required by the statute’s plain terms. Cal. Civ. Code § 48a. And it will be impossible for

Rep. Nunes to correct this defect, because he never made any applicable written demand to CNN

seeking retraction within the allotted time period.

       Courts enforce the “plain language of the statute,” and have made clear that failure to

adhere to its precise requirements is fatal to a claim. See, e.g., King, 1998 WL 665141, at *3-4

(dismissing complaint that failed to allege demand had been made “in writing”); Anderson v.

Hearst Publ’g Co., 120 F. Supp. 850, 853-54 (S.D. Cal. 1954) (dismissing complaint in which

demand did not identify specific statements to be retracted, emphasizing that “[w]e cannot

disregard the plain language of the California statute, Section 48a, Civil Code, that the plaintiff

shall serve a written notice specifying the statements claimed to be libelous” (quotation marks

omitted)); see also, e.g., Anschutz, 90 Cal. Rptr. at 165 (demand that failed to identify plaintiff was

insufficient); O’Hara, Inc., 282 Cal. Rptr. at 718 (“conditional” retraction request was

insufficient); Farr v. Bramblett, 281 P.2d 372, 377 (Cal. Dist. Ct. App. 1955) (letter inviting

publisher to meeting to make retraction was insufficient), disapproved of on other grounds by

Field Research Corp. v. Superior Court of S.F., 453 P.2d 747 (Cal. 1969).

       That Rep. Nunes filed his Complaint within 20 days of publication does not satisfy his

obligations under the plain terms of the retraction statute. The law requires a demand that precedes

and is distinct from the complaint.       Indeed, a plaintiff clearly cannot satisfy the statutory

requirement to “plead . . . notice, demand and failure to correct” if a demand was never made prior

to suit. Cal. Civ. Code § 48a (emphasis added). Moreover, the statute allows a publisher “three




                                                  15
Case 3:19-cv-00889-REP Document 13-1 Filed 01/17/20 Page 21 of 27 PageID# 141



weeks” after receiving the demand to make a correction. Id. And, of course, the demand must be

for a retraction—not, as in the Complaint, for “compensatory damages and punitive damages in

an amount not less than $435,350,000.” Compl. p. 1; see Harris v. Curtis Publ’g Co., 121 P.2d

761, 769 (Cal. Dist. Ct. App. 1942) (demand insufficient where it made clear that “nothing less

than financial compensation would be accepted”); 6A Cal. Jur. 3d Assault and Other Willful Torts

§ 240 (same). The retraction statute provisions allow a publisher a fair opportunity to determine

whether to make a correction before engaging in litigation. This is why, in Farr, the court held

that “no demand in accordance with sec. 48a was made,” even though the Plaintiff had filed its

complaint within two days of publication. 281 P.2d at 377.17

       C.      The Complaint Fails Plausibly To Allege Special Damages.

       Because Rep. Nunes failed to comply with the retraction statute, he “shall only recover

special damages.” Cal. Civ. Code § 48a. Accordingly, “without an allegation of special damages,

the complaint does not allege a legally sufficient cause of action, and it must be dismissed.” King,

1998 WL 665141, at *4 (dismissing complaint).

       Courts routinely dismiss complaints where, as here, the plaintiff has not complied with the

retraction statute and has not alleged special damages with the requisite specificity. See, e.g., id.;

Anderson, 120 F. Supp. at 853-54 (dismissing complaint); In re Cable News Network, 106 F. Supp.

2d at 1001-02 (dismissing claims for failure to “allege special damages with adequate specificity”

where plaintiffs had “not alleged a sufficient demand for retraction”); Anschutz, 90 Cal. Rptr. 3d

at 165 (granting Anti-SLAPP motion based on “insufficient pleading of a special damages claim”



17
   Likewise, in O’Hara, the court held that a letter demanding a discussion with counsel regarding
a retraction was insufficient because it was conditional. See 282 Cal. Rptr. at 718 (applying Farr).
And, in Martinez v. Rodriguez, the court held that a letter putting the defendant on notice of
plaintiff’s legal alternatives was insufficient because it was not an “unequivocal demand” for a
retraction. 1995 WL 864098, at *2 (citing O’Hara).


                                                 16
Case 3:19-cv-00889-REP Document 13-1 Filed 01/17/20 Page 22 of 27 PageID# 142



where plaintiff “never served a legally effective retraction demand”); Fellows v. Nat’l Enquirer,

Inc., 721 P.2d 97, 101 (Cal. 1986) (In Bank) (explaining that where a plaintiff’s “complaint sought

only general damages and did not allege that he had demanded a retraction, the [retraction] statute

would have clearly barred a libel action”).

       Rep. Nunes’s Complaint does not come close to alleging special damages, let alone with

the requisite specificity. Whereas “general damages encompass the loss of reputation, shame and

mortification and hurt feelings in any context, including the plaintiff's trade or business,” “special

damages are defined narrowly to encompass only economic loss.” Gomes v. Fried, 186 Cal. Rptr.

605, 614 (Ct. App. 1982) (emphasis added and citations omitted); see also Childers v. San Jose

Mercury Printing & Publ’g Co., 38 P. 903, 904 (1894) (“Special damages, as a branch of actual

damages, may be recovered when actual pecuniary loss has been sustained.”) (emphasis added).

In addition, special damages must be pleaded with specificity. See, e.g., Fed. R. Civ. P. 9(g)

(special damages must be “specifically stated”); FAA v. Cooper, 566 U.S. 284, 295 (2012)

(“‘Special damages’ are limited to actual pecuniary loss, which must be specially pleaded and

proved.”).

       Rep. Nunes makes only a generic allegation that he “suffered presumed damages and actual

damages, including, but not limited to, insult, pain, embarrassment, humiliation, mental suffering,

injury to his reputation, special damages, costs, and other out-of-pocket expenses, in the sum of

$435,000,000 or such greater amount as is determined by the Jury.” Compl. ¶¶ 42, 47. While the

Complaint literally says the words “special damages,” it fails to allege any specific economic loss,

much less an “estimation of the amount of pecuniary loss suffered” “with the requisite

particularity.” Martin v. Wells Fargo Bank, 2018 WL 6333688, at *2 (C.D. Cal. Jan. 18, 2018);

see also, e.g., Homeland Housewares, LLC v. Euro-Pro Operating LLC, 2014 WL 6892141, at *4




                                                 17
Case 3:19-cv-00889-REP Document 13-1 Filed 01/17/20 Page 23 of 27 PageID# 143



(C.D. Cal. Nov. 5, 2014) (“Plaintiffs’ general statements of economic loss and bare statement for

relief of $3 million dollars in damages do not sufficiently identify special damages.”); Anschutz,

90 Cal. Rptr. 3d at 165 (general allegations of damage to plaintiff’s reputation was “insufficient to

meet the specific pleading requirement” for special damages following failure to demand

retraction); Fed. R. Civ. P. 9(g).

          Because the Complaint lacks an adequate allegation of special damages, it “does not allege

a legally sufficient cause of action under California law,” and must be dismissed. King, 1998 WL

665141, at *4; In re Cable News Network, 106 F. Supp. 2d at 1001-02; Anderson, 120 F. Supp. at

853-54.

II.       THE COMPLAINT FAILS TO PLAUSIBLY ALLEGE A CLAIM OF
          CONSPIRACY.

          The conspiracy claim must be dismissed along with the underlying defamation claim for

the same reasons. “Conspiracy is not an independent tort. . . . It allows tort recovery only against

a party who already owes the duty and is not immune from liability based on applicable substantive

tort law principles.” Applied Equip. Corp. v. Litton Saudi Arabia Ltd., 869 P.2d 454, 459 (Cal

1994) (In Bank).18 The retraction statute thus bars the conspiracy claim, just as it bars the

defamation claim: “[w]here the complaint is based on an offensive statement that is defamatory,

plaintiffs have not been allowed to circumvent the statutory limitation[s] by proceeding on a theory

other than defamation.” X-Tra Art, Inc. v. Consumer Union, 48 F.3d 1230 (table), 1995 WL

100613, at *3 (9th Cir. 1995) (citing cases) (quotation marks omitted); see also, e.g., Kalpoe, 166

Cal. Rptr. 3d at 81, 87-88 (where plaintiff failed to request a retraction, limiting plaintiff’s recovery

to special damages for all claims, including conspiracy). The California retraction statute bars




18
     For the reasons described supra Section I(A), California law should apply to the tort claims here.


                                                   18
Case 3:19-cv-00889-REP Document 13-1 Filed 01/17/20 Page 24 of 27 PageID# 144



Plaintiff’s defamation claim, and he cannot plead around that with a conspiracy claim arising out

of the same statements.

       Even apart from the retraction statute, the conspiracy allegations fail for the independent

reason that they are nothing more than “naked assertions devoid of factual enhancement” that do

not state a claim. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (brackets and quotation marks

omitted). “Under California law, a claim of civil conspiracy has three elements: (1) an agreement

to commit wrongful acts; (2) commission of the wrongful acts; and (3) damage resulting from

commission of the wrongful acts.” Harper v. Lugbauer, 2011 WL 6329870, at *5 (N.D. Cal. Nov.

29, 2011). Here there is no plausible allegation that CNN entered into an agreement with Mr.

Parnas and his attorneys to commit wrongful acts against Rep. Nunes. See, e.g., id. (“Nowhere in

the Complaint does Plaintiff allege that Defendants Coyle and Page actually entered into any

agreement to commit wrongful acts.”); Cox v. MAG Mutual Ins. Co., 2015 WL 1640513, at *6

(E.D. Va. Apr. 9, 2015) (dismissing conspiracy claim where complaint “neither identifies nor

details any sort of agreement between the defendants”). This is textbook Twombly: “Without

more, parallel conduct does not suggest conspiracy, and a conclusory allegation of agreement at

some unidentified point does not supply facts adequate to show illegality.” Bell Atl. v. Twombly,

550 U.S. 544, 556-57 (2007).

       The closest the Complaint comes to alleging an agreement is the generic allegation that

CNN “combined, associated, agreed or acted in concert with Parnas and his attorneys.” Compl.

¶ 44. But this is nothing more than parroted language from Virginia’s conspiracy statute. See Va.

Code Ann. § 18.2-499 (West) (“Any two or more persons who combine, associate, agree, mutually

undertake or concert together . . . .”); compare Iqbal, 556 U.S. at 678 (“A pleading that offers




                                               19
Case 3:19-cv-00889-REP Document 13-1 Filed 01/17/20 Page 25 of 27 PageID# 145



labels and conclusions or a formulaic recitation of the elements of a cause of action will not do.”

(quotation marks omitted)).

       Such threadbare allegations will not suffice. Indeed, at least three courts in this District

have dismissed similar conspiracy claims brought by Rep. Nunes’s counsel on precisely these

grounds. See Bay Tobacco, LLC v. Bell Quality Tobacco Prods., LLC, 261 F. Supp. 2d 483, 498-

99 (E.D. Va. 2003) (allegation that co-conspirators “combined, associated, agreed or acted in

concert” to put plaintiff out of business “is woefully inadequate” and “fails to allege a number of

the required elements of conspiracy” (quotation marks omitted)); Cox, 2015 WL 1640513, at *6

(allegation that alleged co-conspirators “combined, associated, agreed or acted in concert together

for the purposes of willfully and maliciously injuring [plaintiff] in his business and property” is

“vague” and “insufficient to state a claim” (quotation marks omitted)); Kylin Network (Beijing)

Movie & Culture Media Co. Ltd v. Fidlow, 2017 WL 2385343, at *4 (E.D. Va. June 1, 2017)

(dismissing conspiracy counterclaim where counter-plaintiff “does not allege the requisite concert

of action and unity of purpose in more than mere conclusory language” (quotation marks omitted)).

So too here. The conspiracy claim is implausible and must be dismissed.

                                        CONCLUSION

       For the foregoing reasons, the Complaint should be dismissed with prejudice.


 Dated: January 17, 2020                 Respectfully submitted,

                                         WILLIAMS & CONNOLLY LLP

                                         By:    /s/ Dane H. Butswinkas

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                                                20
Case 3:19-cv-00889-REP Document 13-1 Filed 01/17/20 Page 26 of 27 PageID# 146



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                                      21
Case 3:19-cv-00889-REP Document 13-1 Filed 01/17/20 Page 27 of 27 PageID# 147



                               CERTIFICATE OF SERVICE

       I hereby certify that on the 17th day of January 2020, I caused a true and correct copy of

the foregoing Memorandum of Law in Support of the Motion to Dismiss of Defendant Cable News

Network, Inc. to be served on counsel of record via the Court’s CM/ECF system.



                                            /s/ Dane H. Butswinkas

                                            Dane H. Butswinkas
